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 7   Attorney(s) for Digital Verification Systems, LLC

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     DIGITAL VERIFICATION
12   SYSTEMS, LLC
                                                     Case No. 2:23-cv-01586-KJN
13            Plaintiff,
14                v.
15
     SKYSLOPE, INC.,
16           Defendants.
17

18                STIPULATION OF DISMISSAL WITH PREJUDICE
19
           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
20

21
     Plaintiff Digital Verification Systems, LLC, respectfully submits this dismissal With

22   prejudice of all claims asserted by Plaintiff and dismissal Without prejudice of all
23
     counterclaims asserted by Defendant SkySlope, Inc. Each side is to bear its own costs
24

25
     and fees.

26
     Dated: October 17, 2023               Respectfully submitted,
27

28
                                           /s/ Randall Garteiser
     Case 2:23-cv-01586-TLN-KJN Document 32 Filed 10/17/23 Page 2 of 3


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     Case 2:23-cv-01586-TLN-KJN Document 32 Filed 10/17/23 Page 3 of 3


 1
                              CERTIFICATE OF SERVICE

 2         The undersigned hereby certifies that a true and correct copy of the above
 3
     document has been served to all counsel of record who are deemed to have consented
 4

 5
     to electronic service via the Court’s CM/ECF system on.

 6                                                    /s/ Randall Garteiser
                                                      Randall Garteiser
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